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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                                                             CASE NO.: 9:22-cv-81883-RAR

   BRITTANY ROBERSON, REBECCA FREEMAN, BIANCA VIÑAS, TIFFANY KING, and TRESHA
   THOMPSON, individually and on behalf of others similarly situated,
   Plaintiffs,
   vs.
   HEALTH CAREER INSTITUTE LLC (dba HCI COLLEGE LLC and HCI ACQUISITION LLC),
   FLORIAN EDUCATION INVESTORS LLC, and STEVEN W. HART,
   Defendants.
   ________________________________/

                                 MEDIATION DISPOSITION REPORT

          A Mediation conference was conducted on June 18, 2024. The conference resulted in the

   following:

          The following attorneys, parties, corporate representatives, and/or claims professionals attended
          and participated in the mediation conference:

          XX      All PLAINTIFFS and their respective trial counsel.
          XX      All DEFENDANTS and/or their fully authorized claims representative, and their
                  respective trial counsel.

          XX      The parties reached an impasse as to all issues.

                                       CERTIFICATE OF SERVICE

          I hereby certify that on 6/21/2024 a true and correct copy of the above was sent via Electronic

   Mail to: Rebecca Eisenbrey, Esquire, at reisenbrey@ppsl.org; and to Michael Carney, Esquire, at

   mjc@kubickidraper.com; Andrea.Gibson@kubickidraper.com; mjc-kd@kubickidraper.com; and to

   Jennifer Thelusma, Esquire, at jthelusma@ppsl.org; vroytenberg@ppsl.org; and to Barbara E. Fox,

   Esquire, at bf@kubickidraper.com; Pamela.Verdejo@kubickidraper.com; and to Bob Harris, Esquire,

   at bharris@lawfla.com; and to James Dean, Esquire, at jdean@lawfla.com.


                                                   Respectfully submitted,

                                                   /s/ LANCE A. HARKE
                                                   Lance A. Harke, Mediator
                                                   Mediator # 38635R
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